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UNITED STATES DISTR_ICT COURT
SOUTHERN DISTRIC'I` OF NEW YOR_K

 

___-_ ________________ X

CINDY CHAVIS,

Plaintiff,
..VS.
MARGARET PALUMBO, sued in her
individual capacity, and JOHN DOES STIPULATION
I through III, sued in their individual 07 Civ. 8086 (KMK)
capacities,

Defendants.
.................................................. X

THE PARTIES HEREBY STIPULATE that plaintiff shall tile her amended
complaint naming the defendant “Iolm`Doe” police officers within 10 business days after Judge
Karas signs this stipulation, and

THE PARTIES FURTHER STIPULATE, that counsel for defendants does not accept

service for the defendant “John Doe” police officers

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STEP' EN BERGSTEIN DAVID L. PosNP;'R
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